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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                      CIVIL ACTION NO.: 1:15-CV-12939-LTS

METROPOLITAN PROPERTY AND                             )
CASUALTY INSURANCE COMPANY, and                       )
THE COMMERCE INSURANCE COMPANY,                       )
     Plaintiffs/Counterclaim Defendants,              )
                                                      )
       v.                                             )
                                                      )
SAVIN HILL FAMILY CHIROPRACTIC, INC.,                 )
et als.,                                              )
         Defendants,                                  )
                                                      )
       and                                            )
                                                      )
LAW OFFICES OF JEFFREY S. GLASSMAN                    )
LLC,                                                  )
     Defendant/Counterclaim Plaintiff.                )


   PLAINTIFFS, METROPOLITAN PROPERTY AND CASUALTY INSURANCE
COMPANY AND THE COMMERCE INSURANCE COMPANY’S NOTICE PURSUANT
TO THE COURT’S DECEMBER 7, 2018 ORDER (DOC. NO. 921) AND DECEMBER 17,
                     2018 ORDER (DOC. NO. 945)

       NOW COME the Plaintiffs/Defendants-in-Counterclaim, Metropolitan Property and

Casualty Insurance Company (“Metropolitan”) and The Commerce Insurance Company

(“Commerce”) (collectively “the Plaintiffs”), and, pursuant to the Court’s December 7, 2018

Order (Doc. No. 921) and December 17, 2018 Order (Doc. No. 945) (collectively “the Orders”),

hereby provide notice to this Honorable Court that the Plaintiffs have served, via electronic and

first-class mail, upon the Defendants their Supplemental Interrogatory Answers concerning the

Plaintiffs’ current and former employees identified in the Parties’ Initial Disclosures as required

by the Court’s Orders.
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                                             Respectfully submitted,
                                             By the Plaintiffs,
                                             Metropolitan Property and Casualty
                                             Insurance Company, and
                                             The Commerce Insurance Company,
                                             By their attorneys,

                                              /s/ Peter R. Houston
                                             Glenda H. Ganem
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                                             McGovern, Houston & Ganem, P.C.
                                             21 Merchants Row, 4th Floor
                                             Boston, MA 02109
                                             (617) 723-1444
Dated: January 4, 2019


                                CERTIFICATE OF SERVICE

         I, Peter R. Houston, Esq., attorney for the Plaintiff, Metropolitan Property and Casualty
Insurance Company, hereby certify that this document was served, via electronic mail, to counsel
for all of the Defendants as identified on the Notice of Electronic Filing (NEF) and/or served in
compliance with the Fed.R.Civ.P.

                                                    /s/ Peter R. Houston
Date: January 4, 2019                               Peter R. Houston, Esq.
